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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION


UNITED STATES OF AMERICA

               v.                                    INDICTMENT

RICHARD STEVEN ALBERTS, II, and                      21 U.S.C. §§ 841(a)(l), 841(b)(l)(C), and
JOSEPH LUCIO JIMENEZ,                                846

               Defendants.                           Forfeiture Allegation

                                                     UNDERSEAL

                              THE GRAND JURY CHARGES:

                                          COUNT 1
                      (Conspiracy to Distribute Controlled Substances)
                        (21 U.S.C. §§ 841(a)(l), 841(b)(l)(C), and 846)

       Beginning at a time unknown and continuing up to and including June 7, 2019, in the

District of Oregon, RICHARD STEVEN ALBERTS, II, and JOSEPH LUCIO JIMENEZ,

defendants herein, did unlawfully, knowingly, and intentionally combine, conspire, confederate

and agree, with other persons whose names are known and unknown to the Grand Jury, to

commit the following objects of the conspiracy, in violation of Title 21, United States Code,

Sections 841(a)(l), 841(b)(l)(C), and 846:




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                                    Objects of the Conspiracy

    A. Distribution of Methamphetamine: The conspirators agreed to distribute a mixture and

       substance containing a detectable amount of methamphetamine, a Schedule II controlled

       substance, in violation of Title 21 , United States Code, Sections 841(a)(l),

       841 (b )(1 )(C)(viii);

   B. Distribution of Heroin: The conspirators agreed to distribute a mixture and substance

       containing a detectable amount of heroin, a Schedule I controlled substance, in violation

       of Title 21 , United States Code, Sections 841(a)(l), 841(b)(l)(C)(i);

                                         Manner and Means

       The manner and means used to accomplish the objectives of the conspiracy included,

among others, the following:

       1.      The defendants and others stored, transported, and concealed controlled

substances.

       2.      The defendants and others used cellular telephones to further the possession and

distribution of controlled substances.

       3.      The defendants and others distributed controlled substances into the Coffee Creek

Correctional Facility.

       4.      On or about June 3, 2019, defendant JOSEPH LUCIO JIMENEZ knowingly

and intentionally distributed heroin.

       5.      Between about June 3, 2019, and June 6, 2019, defendant RICHARD STEVEN

ALBERTS, II, knowingly and intentionally distributed heroin.




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                                           COUNT2
                                    (Distribution of Heroin)
                           (21 U.S.C. §§ 841(a)(l) and 84l(b)(l)(C)(i))

        On or about June 3, 2019, in the District of Oregon, defendant JOSEPH LUCIO

JIMENEZ, did unlawfully, knowingly, and inte°:tionally distribute a mixture and substance

containing a detectable amount of heroin, a Schedule I controlled substance;

       In violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l)(C)(i).

                                           COUNT3
                                    (Distribution of Heroin)
                           (21 U.S.C. §§ 841(a)(l) and 841(b)(l)(C)(i))

       Between about June 3, 2019, and June 6, 2019, in the District of Oregon, defendant

RICHARD STEVEN ALBERTS, 11, did unlawfully, knowingly, and intentionally distribute a

mixture and substance containing a detectable amount of heroin, a Schedule I controlled

substance;

       In violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l)(C)(i).

                                 FORFEITURE ALLEGATION

       Upon conviction of the offenses alleged in Counts 1 - 3, defendants shall forfeit to the

United States, pursuant to 21 U.S.C. § 853 , any property constituting, or derived from, proceeds

obtained, directly or indirectly, as a result of the aforesaid violations, and any property used, or

intended to be used, in any manner or part, to commit, or to faci litate the commission of said

violations, including but not limited to the following:

                a. A money judgment for a sum of money equal to the amount of property
                   representing the amount of proceeds obtained as a result of the offenses
                   alleged in Counts 1 - 3.




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       If any of the above-described forfeitable property, as a result of any act or omission of the

defendants:

       (a) cannot be located upon the exercise of due diligence;

       (b) has been transferred or sold to, or deposited with, a third party;

       (c) has been placed beyond the jurisdiction of the court;

       (d) has been substantially diminished in value; or

       (e) has been commingled with other property which cannot be divided without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by 18 U.S.C.

§ 982(b), to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.

Dated: December   J!l_, 2019
                                                      A TRUE BILL.



                                                     ~                            SON

Presented by:

BILLY J. WILLIAMS
United States Attorney




                                 062824




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